U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

July 10, 2019

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square

New York, NY 10007

Re: United States v. Martha Patricia Bustos, 19 Cr. 482 (PGG)
Dear Judge Gardephe

On or about June 28, 2019, the defendant in this case pled guilty pursuant to a cooperation
agreement, before the Honorable Gabriel Gorenstein. At the time of the defendant’s plea, the case was
sealed, and docketing delayed, because it was anticipated that the Government would charge and arrest
others based, in part, on Bustos’ cooperation. Earlier today, FBI agents arrested one of Bustos’ co-
conspirators in California, and an indictment was unsealed charging that defendant and identifying
Bustos as a co-conspirator. Accordingly, the Government respectfully submits that this case should be
unsealed and filed on the public docket. Defense counsel has no objection to this request.

Respectfully submitted,

GEOFFREY S. BERMAN
United States Attorney
Southern District of New York

/s/ Edward Imperatore
Edward Imperatore/Brendan Quigley

Assistant United States Attorneys
) y Jaap Sa (212) 637-2327/2190

SO ORDERED 2 fur fna aa

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cc: Peter Till, Esq. Htc TRONIC ALLY FILED

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